                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                   :       Chapter 11
                                                         :
M & G USA CORPORATION, et al.,1                          :       Case No. 17-12307 (BLS)
                                                         :
                  Debtors.                               :       (Jointly Administered)
                                                         :       Ref. Docket No. 1839

          NOTICE OF SUBMISSION OF PROOFS OF CLAIM IN CONNECTION
         WITH DEBTORS’ SECOND OMNIBUS OBJECTION (SUBSTANTIVE) TO
                 RECLASSIFY CERTAIN MISCLASSIFIED CLAIMS


TO:      Parties required to receive notice pursuant to Del. Bankr. L.R. 2002-1.

                  PLEASE TAKE NOTICE that on September 10, 2018, above captioned debtors

(the “Debtors”), filed the Debtors’ Second Omnibus Objection (Substantive) to Reclassify

Certain Misclassified Claims (the “Second Omnibus Objection”) [Docket No. 1839] with the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,

Wilmington, Delaware 19801 (the “Court”). A hearing on the Second Omnibus Objection is

scheduled for October 10, 2018 at 1:00 p.m. prevailing Eastern Time.

                  PLEASE TAKE FURTHER NOTICE that the proofs of claim that are required to

be delivered to Chambers pursuant to Del. Bankr. L.R. 3007-1(e)(iv) (the “Proofs of Claim”)

have been delivered to Chambers (with all attachments) together with a copy of the Second

Omnibus Objection. Copies of any Proof of Claim can be requested from the undersigned

counsel to the Debtors.



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        The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195),
Mossi & Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.


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Dated: September 26, 2018    PACHULSKI STANG ZIEHL & JONES LLP

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                             Possession




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